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                       UNITED STATES DISTRICT COURT


                        DISTRICT OF MASSACHUSETTS


 JANSSEN BIOTECH,      INC.,
         Plaintiff,


              V.

                                               C.A.   No.   17-11008-MLW

 CELLTRION HEALTHCARE CO.,
 LTD.,    ET AL.,
         Defendants.




                                     ORDER



 WOLF, D.J.                                                    June 5,   2018

     It is hereby ORDERED that a hearing on defendants' motion for

summary judgment on the issue of ensnarement shall commence on

June 12,    2018,   at 10:00 a.m.,    and continue on June 13,     2018,   if

necessary.




                                     Cm«
                                     UNITED STATES DISTRICT
